       Case 2:16-bk-18600-RK Doc 74 Filed 09/23/19 Entered 09/23/19 16:19:37                           Desc
                          Notice of Ord Denying Dischrg Page 1 of 1

                                     United States Bankruptcy Court
                                       Central District of California
                                    255 East Temple Street, Los Angeles, CA 90012

                             NOTICE OF ORDER DENYING DISCHARGE

   DEBTOR(S) INFORMATION:                                        BANKRUPTCY NO. 2:16−bk−18600−RK
   Jens Larsen                                                   CHAPTER 7
   SSN: xxx−xx−5526
   EIN: N/A
   aka Jason Reingold, aka Jens F. Larsen LLC, aka
   Larsen Investment Group, aka Frederick
   Investments LLC
   11271 Ventura Blvd #468
   Studio City, CA 91604


Notice is hereby given that an order was entered DENYING the DISCHARGE of the above−named debtor(s).

Per Judgment entered on 9/23/19, in the adversary proceeding
2:16−ap−01446−RK.




                                                                       For The Court,
Dated: September 23, 2019                                              Kathleen J. Campbell
                                                                       Clerk of Court




(Form van57 5/96) VAN−57                                                                                 74 / MD2
